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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION



EQUAL EMPLOYMENT OPPORTUNITY
COMMISSION,

                      Plaintiff,                      Civil Action No.:
                                                      Honorable:
v.


                                                      COMPLAINT AND JURY
                                                      TRIAL DEMAND

THE SALVATION ARMY,



                      Defendant.
                                           /

                             NATURE OF THE ACTION

         This is an action under Title I of the Americans with Disabilities Act of

1990, as amended (“ADA”), and Title I of the Civil Rights Act of 1991 to correct

unlawful employment practices on the basis of disability and to provide

appropriate relief to the Charging Party. As alleged with greater particularity in

paragraph 13 below, the Equal Employment Opportunity Commission (“the

Commission”) alleges that The Salvation Army (“Defendant Employer”) violated

the ADA by terminating the Charging Party’s employment because of his


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disabilities and because Defendant regarded the Charging Party as having a

disability.

                          JURISDICTION AND VENUE

         1.   Jurisdiction of this Court is invoked pursuant to 28 U.S.C. §§ 451,

1331, 1337, 1343 and 1345. This action is authorized and instituted pursuant to

Section 107(a) of the ADA, 42 U.S.C. § 12117(a), which incorporates by reference

Section 706(f)(1) and (3) of Title VII of the Civil Rights Act of 1964 (“Title VII”),

42 U.S.C.§ 2000e-5(f)(1) and (3) and pursuant to Section 102 of the Civil Rights

Act of 1991, 42 U.S.C. § 1981a.

         2.   The employment practices alleged to be unlawful were committed

within the jurisdiction of the United States District Court for the Eastern District of

Michigan.

                                      PARTIES

         3.   Plaintiff, the Commission, is the agency of the United States of

America charged with the administration, interpretation and enforcement of Title I

of the ADA and is expressly authorized to bring this action by Section 107(a) of

the ADA, 42 U.S.C. § 12117(a), which incorporates by reference Sections

706(f)(1) and (3) of Title VII, 42 U.S.C. § 2000e-5(f)(1) and (3).




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         4.   At all relevant times, Defendant, The Salvation Army (the “Defendant

Employer”), has continuously been doing business in the State of Michigan and the

City of Ann Arbor, and has continuously had at least 15 employees.

         5.   At all relevant times, Defendant Employer has continuously been an

employer engaged in an industry affecting commerce under Sections 101(5) and

101(7) of the ADA, 42 U.S.C. §§ 12111(5), (7).

         6.   At all relevant times, Defendant Employer has been a covered entity

under Section 101(2) of the ADA, 42 U.S.C. § 12111(2).

                       ADMINISTRATIVE PROCEDURES

         7.   More than thirty days prior to the institution of this lawsuit, the

Charging Party filed a charge with the Commission alleging violations of the ADA

by Defendant Employer.

         8.   On February 10, 2022, the Commission issued to Defendant Employer

a Letter of Determination finding reasonable cause to believe that the ADA was

violated and inviting Defendant to join with the Commission in informal methods

of conciliation to endeavor to eliminate the unlawful employment practices and

provide appropriate relief.

         9.   The Commission engaged in communication with Defendant

Employer to provide Defendant with the opportunity to remedy the discriminatory

practices described in the Letter of Determination.



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         10.   The Commission was unable to secure from Defendant Employer a

conciliation agreement acceptable to the Commission.

         11.   On May 5, 2022, the Commission issued to Defendant Employer a

Notice of Failure of Conciliation advising Defendant that the Commission was

unable to secure from Defendant a conciliation agreement acceptable to the

Commission.

        12.    All conditions precedent to the institution of this lawsuit have been
fulfilled.

                                 STATEMENT OF CLAIMS

         13.   On or about May 16, 2019, Defendant Employer engaged in unlawful

employment practices at its Ann Arbor, Michigan facility (Family Store and

Donation Center), in violation of Section 102(a) of Title I of the ADA, 42 U.S.C. §

12112(a). Defendant violated the ADA by terminating the Charging Party’s

employment because of his disabilities and because Defendant regarded the

Charging Party as disabled.

               a.     The Charging Party is a qualified individual with a disability

         under Sections 3 and 101(8) of the ADA, 42 U.S.C. §§ 12102 and 12111(8).

         The Charging Party has been diagnosed with scoliosis, Asperger’s

         Syndrome, bipolar disorder, anxiety/depression, dyspraxia (developmental

         coordination disorder), and dyskinesia (involuntary movements of face and

         extremities), all of which substantially limit major life activities. The

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         Charging Party is substantially limited in walking, brain function, and

         neurological function.

               b.     On July 2, 2018, with the assistance of an employment

         coordinator with Michigan Ability Partners (MAP), the Charging Party

         interviewed with Defendant for a cashier position at Defendant’s store in

         Ann Arbor, Michigan. Defendant’s manager was advised of the Charging

         Party’s disabilities and need for a job coach.

               c.     On or about July 17, 2018, the Charging Party began working at

         Defendant Employer’s Ann Arbor store and received coaching from a MAP

         job coach during the 90-day probationary period of his employment.

               d.     On or about December 1, 2018 a new manager was assigned to

         Defendant’s Ann Arbor store. Shortly thereafter, the new manger

         demonstrated animus toward the Charging Party because of the visible

         manifestations of his disabilities. Specifically, the manager repeatedly

         chastised the Charging Party for his tics and involuntary movements (such as

         touching his face and rubbing his shirt), despite having knowledge of the

         Charging Party’s disabilities.

               c.     The manager also treated the Charging Party unfavorably by

         not allowing additional job coaching for the Charging Party, disciplining the




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         Charging Party for minor mistakes, and behaving aggressively toward the

         Charging Party while a customer was present.

               d.     Around the beginning of May 2019, Defendant hired 2 to 4 new

         cashiers. At that time, the manager began sending the Charging Party home

         early and telling him that there were “too many cashiers.”

               e.     On or about May 16, 2019, the Charging Party accidentally

         dropped a drinking glass that was priced at one dollar. The same day,

         Defendant terminated the Charging Party’s employment.

               f.     Defendant discharged the Charging Party because of his

         disabilities and his impairments.

         14.   The effect of the practices complained of in paragraph 13 above has

been to deprive the Charging Party of equal employment opportunities and

otherwise adversely affect his status as an employee because of his disabilities.

         15.   The unlawful employment practices complained of in paragraphs 13

above were intentional.

         16.   The unlawful employment practices complained of in paragraph 13

above were done with malice or with reckless indifference to the federally

protected rights of the Charging Party.

                                  PRAYER FOR RELIEF

         Wherefore, the Commission respectfully requests that this Court:



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         A.   Grant a permanent injunction enjoining Defendant Employer, its

officers, agents, servants, employees, attorneys, and all persons in active concert or

participation with it, from terminating employees on the basis of disability.

         B.   Order Defendant Employer to institute and carry out policies,

practices, and programs which provide equal employment opportunities for

qualified individuals with disabilities, and which eradicate the effects of its past

and present unlawful employment practices.

         C.   Order Defendant Employer to make whole the Charging Party, by

providing appropriate backpay with prejudgment interest, in amounts to be

determined at trial.

         F.   Order Defendant Employer to make whole the Charging Party by

providing compensation for past and future pecuniary losses resulting from the

unlawful employment practices described in paragraph 13 above, in amounts to be

determined at trial.

         G.   Order Defendant Employer to make whole the Charging Party by

providing compensation for past and future nonpecuniary losses resulting from the

unlawful practices complained of in paragraph 13 above, including emotional pain,

distress, suffering, inconvenience, anxiety, loss of enjoyment of life, and

humiliation, in amounts to be determined at trial.




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         H.   Order Defendant Employer to pay the Charging Party punitive

damages for its malicious and reckless conduct, as described in paragraph 13

above, in amounts to be determined at trial.

         I.   Grant such further relief as the Court deems necessary and proper in

the public interest.

         J.   Award the Commission its costs of this action.


                             JURY TRIAL DEMAND

     The Commission requests a jury trial on all questions of fact raised by its
complaint.

                                               Respectfully submitted,

                                               EQUAL EMPLOYMENT
                                               OPPORTUNITY COMMISSION

                                               /s/ Miles L. Uhlar ___________
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Dated: August 23, 2022




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